            Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                           OF THE DISTRICT OF COLUMBIA

COMMITTEE OF 100, Inc.
6 St. Johns Lane
New York, NY 10013

                   Plaintiff,
                         v.
U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Ave. NW
Washington, D.C. 20530
FEDERAL BUREAU OF INVESTIGATION
950 Pennsylvania Ave. NW
Washington, D.C. 20530
                 Defendants.


                                          COMPLAINT

       1.      Plaintiff, COMMITTEE OF 100, brings this Freedom of Information Act suit to

force Defendants U.S. DEPARTMENT OF JUSTICE and FEDERAL BUREAU OF

INVESTIGATION to produce records pertaining to each Defendant agency’s records pertaining

to the government’s response to the rise of hate crimes perpetrated against Asian Americans,

including concrete policies or practices each agency has implemented in its efforts to combat hate

crimes. In violation of FOIA, Defendants have failed to conduct a reasonable search for the

requested records, have failed to issue a determination within twenty business days, and have failed

to produce the records promptly.

                                            PARTIES

       2.      Plaintiff, COMMITTEE OF 100, is a public interest non-profit organization with a

mission to promote the full participation of all Chinese Americans in American society and acts

as a public policy resource for the Chinese American community. The organization was founded
             Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 2 of 9




over thirty years ago by prominent members of the Chinese American community including world

renowned architect I.M. Pei and cellist Yo-Yo Ma at the urging of Dr. Henry Kissinger. Today,

the organization is led by former Secretary of Commerce Gary Locke, who was also the first

Chinese American to serve as the U.S. ambassador to China and the only Chinese American to

serve as a governor of any state. COMMITTEE OF 100 made the FOIA requests at issue in this

case.

        3.      Defendant, U.S. DEPARTMENT OF JUSTICE (DOJ) is a federal agency within

the meaning of 5 U.S.C. § 552(f) and is subject to FOIA.

        4.      Defendant, FEDERAL BUREAU OF INVESTIGATION (FBI), is a component of

DOJ, a federal agency within the meaning of 5 U.S.C. § 552(f), and subject to FOIA.

                                JURISDICTION AND VENUE

        5.      This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question

conferring jurisdiction on this Court. See 28 U.S.C. § 1331.

        6.      Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                                        BACKGROUND

        7.      On March 8, 2022, Kristen Clarke, Assistant Attorney General, testified before the

Senate Judiciary Committee of DOJ’s efforts to combat a rise in hate crimes. Ex. 1.

        8.      In her testimony, AAG Clarke cited the FBI statistics that confirm that “in 2020,

reported hate crimes rose to their highest levels in nearly two decades.” Id. Over 60% of these

crimes were “motivated by race and ethnicity.” Id.

        9.      AAG Clarke testified that while “more than half of all hate crimes motivated by

race and ethnicity targeted Black people,” there was also a “shocking rise,” an over 70% increase

in 2020, in attacks on people of Asian descent. Id.
               Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 3 of 9




         10.      AAG Clarke identified three critical areas in which DOJ is “working to identify and

combat hate: (i) enforcement, (ii) reporting, and (iii) community engagement.” Id. at 4.

         11.      The COVID-19 Hate Crimes Act/Jabara-Geyer NO HATE Act authorizes three

new grant programs, all of which will be administered through DOJ’s Office of Justice Programs

(OJP). Id. at 11.

         12.      AAG Clarke stated that DOJ already awarded “$21 million to investigate and

prosecute hate crimes and assist hate crime victims” from its FY2021 funding and will “continue

to use existing resources to combat hate in a manner consistent with the spirit of the law, and to

prepare for implementation as soon as funding authorization occurs.” Id. at 10-12.

         13.      Further, in its efforts to combat and prevent acts of hate, FBI created a “Multi-

Cultural Engagement Council, composed of ethnic, religious, and community leaders, to improve

cultural competence and sensitivity, and devise solutions to the threats facing these communities.”

Id. at 16; see also https://www.fbi.gov/about/community-outreach.

                            MARCH 16, 2022 FOIA REQUEST TO DOJ

         14.      On March 16, 2022, Plaintiff COMMITTEE OF 100 submitted the following FOIA

request, via email, to DOJ:

               [1] Records referencing all the state, local, and tribal agencies that were awarded
               grants, including the amount received by each grantee, in December 2021 to
               investigate and prosecute date crimes and assist hate crime victims as referenced in
               Appendix B of (pg. 17) of AAG Clarke's statement before the Senate Judiciary
               Committee dated March 8, 2022.

               [2] Records referencing all research projects that were provided funding by OJP's
               National Institute of Justice almost $7.5 million budget to support research
               designed to develop a better understanding of the phenomenon known as domestic
               radicalization and to advance evidence-based strategies for preventing and
               intervening in acts of domestic terrorism.

Ex. 2.
              Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 4 of 9




        15.      The timeframe of the request is from January 1, 2019, through the date the search

for responsive records is conducted. Id.

        16.      On April 7, 2022, DOJ acknowledged receipt and assigned reference number 22-

FOIA-00141 to the request. Ex. 3.

        17.      DOJ stated that the request falls within “unusual circumstances” under 5 U.S.C.§

552 (a)(6)(B)(i)-(iii)(2018) and sought an extension “beyond the ten additional days provided by

the statute.” Id.

        18.      Having received no further correspondence from DOJ, COMMITTEE OF 100,

sought a status update of the request on May 20, 2022. Ex. 4.

        19.      On May 24, 2022, DOJ stated that it is “continuing to process” the request and will

provide a response as soon as they “finish processing” the request. Id.

        20.      As of the date of this filing, DOJ has not issued a determination and has not

produced any records responsive to the request. Nor has the DOJ complied with the statutory

requirement under 5 U.S.C. § 552(a)(7)(B)(ii) to furnish an estimated date of completion when

requested.

                            MARCH 15, 2022 FOIA REQUEST TO FBI

        21.       On March 15, 2022, Plaintiff COMMITTEE OF 100 submitted a FOIA request to

the FBI for the following records:

              [1] Records referencing FBI partnerships with national and local civil rights
              organizations as part of the efforts to combat and prevent acts of hate as referenced
              in Appendix A (pg. 15) of AAG Clarke's statement before the Senate Judiciary
              Committee dated March 8, 2022. We do not require all such records, but only
              records sufficient to identify the organizations;

              [2] All materials used at FBI seminars, workshops, and training sessions for federal
              and local law enforcement, religious organizations, and community groups to
              promote cooperation and provide education about civil rights statutes;

              [3] All materials used at FBI hate crimes training seminars for its new agents;
             Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 5 of 9




             [4] Records referencing how the FBI defines historically underrepresented and
             targeted populations as referenced in Appendix A (pg. 15) of AAG Clarke's
             statement before the Senate Judiciary Committee dated March 8, 2022;

             [5] Records referencing any special efforts FBI has made to reach out to historically
             underrepresented and targeted populations as referenced in Appendix A (pg. 15) of
             AAG Clarke's statement before the Senate Judiciary Committee dated March 8,
             2022;

             [6] All communications referencing the creation of the FBI Multi-Cultural
             Engagement Council;

             [7] Records that identify the composition of the FBI Multi-Cultural Engagement
             Council;

             [8] Records referencing any actions the FBI Multi-Cultural Engagement Council
             took to improve cultural competency and sensitivity;

             [9] All communication between the FBI Multi-Cultural Engagement Council and
             the Director of the FBI, Christopher Wray;

             [10] Communications between senior level staff of the FBI Head Office and any
             senior level staff at any of the 56 FBI field offices about cultural competency and
             sensitivity, recruitment efforts to attract racial or ethnic diverse candidates,
             retention data based on racial or ethnic background; [and]

             [11] Records identifying or referencing efforts by the FBI to recruit and retain
             individuals from historically underrepresented populations.

The FBI’s confirmation of request submission is attached as Exhibit 5.

       22.      The timeframe of the request is from January 1, 2019, through the date the search

for responsive records is conducted. Id.

       23.      Having received no other communication from FBI, COMMITTEE OF 100 sought

a status update from the FBI on May 20, 2022. Ex. 6.

       24.      On May 23, 2022, FBI stated that the request is presently in “Initial Processing,

where the assigned analyst is searching for, retrieving and reviewing potentially responsive

records.” Id.
              Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 6 of 9




        25.      FBI also stated that the estimated date of completion is “1,929 days from the date

FBI opened” the request. Id.

        26.      On May 25, 2022, FBI split the request into two parts and assigned reference

numbers 1547060-000 and 1547061-000 to the request. Ex. 7.

        27.      On May 25, 2022, FBI denied expedited processing for 1547060-000 and 1547061-

000. Ex. 8.

        28.      As of the date of this filing, FBI has not issued a determination and has not produced

any records responsive to the request.

                            COUNT I – DOJ’S FOIA VIOLATION:
                          FAILURE TO ISSUE A DETERMINATION
        29.      The above paragraphs are incorporated herein.

        30.      Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.

        31.      Defendant DOJ is a federal agency and subject to FOIA.

        32.      Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        33.      Defendant DOJ has failed to issue a determination within the statutory deadline.

                         COUNT II – DOJ’S FOIA VIOLATION:
                    FAILURE TO CONDUCT A REASONABLE SEARCH
        34.      The above paragraphs are incorporated herein.

        35.      Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.

        36.      Defendant DOJ is a federal agency and subject to FOIA.

        37.      Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.
              Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 7 of 9




        38.      Defendant DOJ has failed to conduct a reasonable search for records responsive to

the request.

                            COUNT III – DOJ’S FOIA VIOLATION
                             FAILURE TO PRODUCE RECORDS
        39.      The above paragraphs are incorporated herein.

        40.      Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.

        41.      Defendant DOJ is a federal agency and subject to FOIA.

        42.      Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        43.      DOJ has failed to produce records responsive to the request.

                           COUNT IV – FBI’S FOIA VIOLATION:
                          FAILURE TO ISSUE A DETERMINATION
        44.      The above paragraphs are incorporated herein.

        45.      Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.

        46.      Defendant FBI is a federal agency and subject to FOIA.

        47.      Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

        48.      Defendant FBI has failed to issue a determination within the statutory deadline.

                         COUNT V – FBI’S FOIA VIOLATION:
                    FAILURE TO CONDUCT A REASONABLE SEARCH
        49.      The above paragraphs are incorporated herein.

        50.      Plaintiff’s FOIA request seeks the disclosure of agency records and was properly

made.

        51.      Defendant FBI is a federal agency and subject to FOIA.
             Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 8 of 9




       52.      Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

       53.      Defendant FBI has failed to conduct a reasonable search for records responsive to

the request.

                           COUNT VI – FBI’S FOIA VIOLATION:
                            FAILURE TO PRODUCE RECORDS
       54.      The above paragraphs are incorporated herein.

       55.      Plaintiff's request seeks the disclosure of agency records and was properly made.

       56.      Defendant FBI is a federal agency and subject to FOIA.

       57.      Included within the scope of the request are one or more records or portions of

records that are not exempt under FOIA.

       58.      FBI has failed to produce records responsive to the request

                                     REQUESTED RELIEF

WHEREFORE, Plaintiff asks the Court to:

          i.    declare that Defendants have violated FOIA;

         ii.    order Defendants to conduct a reasonable search for records;

        iii.    order Defendants to issue a determination where appropriate;

         iv.    order Defendants to produce all non-exempt requested records or portions of
                records promptly;

         v.     enjoin Defendants from withholding non-exempt public records under FOIA;

         vi.    award Plaintiff attorneys' fees and costs; and

        vii.    award such other relief the Court considers appropriate.



Dated: June 23, 2022
Case 1:22-cv-01792-RC Document 1 Filed 06/23/22 Page 9 of 9




                                RESPECTFULLY SUBMITTED,

                                /s/ Matthew Topic

                                Attorney for Plaintiff,
                                COMMITTEE OF 100, Inc.

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